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                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF PUERTO RICO


  JUAN JOSÉ PERAZA MORA                            CASE NO. 19-01896-ESL12
  GLORIA E. BATISTA MOLINA
  d/b/a Vaquería Peraza
  XXX - XX - 9523                                  CHAPTER 12
  XXX - XX - 1026
  Debtors




  Motion Submitting Stipulation for the Treatment of Claim for Secured Creditor, Triangle
                                 Cayman Asset Company


   TO THE HONORABLE COURT:

         Come Now, the Debtors Juan J Peraza Mora and Gloria E Batista Molina, trough the

  undersigned counsel of record and very respectfully STATE and PRAY:


             1. The Debtors filed the present Chapter 12 Bankruptcy Case on April 5, 2019 under

                 case no. 19-01896-ESL12.

             2. This Honorable Court entered an Order allowing the Debtors and Triangle Cayman

                 Asset Company up to May 7, 2020 to submit a Settlement Agreement. See Order

                 at Docket No. 146.

             3. The parties submit the Settlement Agreement for the treatment of secured creditor,

                 Triangle Cayman Asset Company, attached to this motion as EXHIBIT 1.


         WHEREFORE it is respectfully requested that this Honorable Court approves the

  Stipulation submitted at Exhibit 1.

   RESPECTFULLY SUBMITTED,
Case:19-01896-ESL12 Doc#:148 Filed:04/23/20 Entered:04/23/20 11:40:00                     Desc: Main
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  In Mayaguez, Puerto Rico this April 23, 2020


  Within twenty one (21) days after service as evidenced by the certification, and an additional
  three (3) days pursuant to Fed. R. Bank. P. 9006(f) if you were served by mail, any party
  against whom this paper has been served, or any other party to the action who objects to the
  relief sought herein, shall serve and file an objection or other appropriate response to this
  paper with the clerks office of the United States Bankruptcy Court for the District of Puerto
  Rico. If no objection or other response is filed within the time allowed herein, the paper will
  be deemed unopposed and may be granted unless: (i) the requested relief is forbidden by
  law; (ii) the requested relief is against public policy; or (iii) in the opinion of the court, the
  interest of justice requires otherwise.

                                       CERTIFICATE OF SERVICE
  Notice of this MOTION has been electronically provided by the CM/ECF system to: The US
  Trustee for the District of Puerto Rico, The Chapter 12 Trustee JOSE CARRION and to all
  attorneys and Creditors that have filed a notice of appearance. The non-CM/ECF participants will
  be notified by first class mail as per the Master Address List included herein.


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